
Restoration Chiropractic, P.C., as Assignee of Fabio Gutierrez, Appellant, 
againstNew York Central Mutual Fire Insurance Company, Respondent.



Appeal from an order of the Civil Court of the City of New York, Queens County (Jodi Orlow, J.), entered February 7, 2014. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which granted defendant's motion for summary judgment dismissing the complaint. The motion was based upon the defense that plaintiff's claims were timely denied on the ground that plaintiff's assignor had failed to appear for duly scheduled independent medical examinations (IMEs).
Contrary to plaintiff's argument, the proof submitted by defendant in support of its motion was sufficient to give rise to a presumption that the IME scheduling letters and denial of claim forms had been properly mailed (see St. Vincent's Hosp. of Richmond v Government Empls. Ins. Co., 50 AD3d 1123 [2008]). Contrary to plaintiff's further argument, defendant established that plaintiff's assignor had failed to appear for the duly scheduled IMEs (see Stephen Fogel Psychological, P.C. v Progressive Cas. Ins. Co., 35 AD3d 720 [2006]). Plaintiff's remaining contention is without merit.
Accordingly, the order is affirmed. 
Pesce, P.J., Aliotta and Solomon, JJ., concur.
Decision Date: September 15, 2016










